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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 EYESMATCH, LTD., and                       :
 MEMOMI LABS, INC.,                         :
                                            :
                      Plaintiffs,           :
                                            :
               v.                           :      Civil Action No. 21-111-RGA-JLH
                                            :
 FACEBOOK, INC., INSTAGRAM, LLC,            :
 and WHATSAPP, LLC,                         :
                                            :
                      Defendants.           :



                                           ORDER

        This 18th day of October 2021, upon consideration of the Magistrate Judge=s Report and

 Recommendation dated October 1, 2021 (D.I. 48), and no objections to the Report and

 Recommendation having been received, IT IS HEREBY ORDERED:

        1. The Report and Recommendation (D.I. 48) is ADOPTED.

        2. Defendants= motion to dismiss (D.I. 7) is GRANTED-IN-PART and

 DENEID-IN-PART. Plaintiff’s pre-suit indirect infringement claims are DISMISSED, and

 Defendants’ motion in all other respects is DENIED.




                                             /s/ Richard G. Andrews
                                            United States District Judge
